                      UNITED STATES DISTRICT COURT FOR THE DISTRICT OF ALASKA
                         CIVIL DOCKET ENTRIES FOR CASE A03-0079--CV (JKS)
                                  "DEBORAH A. LUPER V MOA ET AL"

                     Including terminated parties, excluding terminated counsel


   Presiding Judge: The Honorable James K. Singleton, U.S. District Judge
  Magistrate Judge:
     Referral Rule:
             Filed: 04/10/03
            Closed: 07/09/03

      Jurisdiction: (3) Federal Question (US Govt not a Party)
     PLF Diversity:
     DEF Diversity:

    Nature of Suit: (441) Voting

              Origin: (1) Original Proceeding
              Demand:
          Filing fee: Paid $150.00 on 04/10/03 receipt # 00120143
            Trial by:



Parties of Record:                                         Counsel of Record:

PLF 1.1               LUPER, DEBORAH A.                        Kenneth P. Jacobus
                                                               310 K Street, Suite 200
                                                               Anchorage, AK 99501
                                                               907-277-3333
                                                               FAX 907-264-6666

PLF 2.1               MERCULIEFF, RINNA                        Kenneth P. Jacobus
                                                               (see above)

DEF 1.1               ANCHORAGE, MUNICIPALITY OF               Thomas F. Klinkner
                                                               Birch Horton Bittner & Cherot
                                                               1127 W. 7th Avenue
                                                               Anchorage, AK 99501-339
                                                               907-276-1550

                                                               Paul J. Jones
                                                               Kemppel Huffman & Ellis P.C.
                                                               255 E.Fireweed Lane, Suite 200
                                                               Anchorage, AK 99503
                                                               907-277-1604
                                                               FAX 907-276-2493

DEF 2.1               HEIM, LINDA                              Thomas F. Klinkner
                                                               (see above)

                                                               Paul J. Jones
                                                               (see above)

DII 1.1               FRIEDMAN, JEFFREY A.                     Jeffrey A. Friedman
                                                               Friedman Rubin et al
                                                               1227 W. 9th Avenue, Suite 201
                                                               Anchorage, AK 99501
                                                               907-258-0704




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                       UNITED STATES DISTRICT COURT FOR THE DISTRICT OF ALASKA
                     CIVIL DOCKET PARTY INFORMATION FOR CASE A03-0079--CV (JKS)
                                   "DEBORAH A. LUPER V MOA ET AL"

                     Including terminated parties, excluding terminated counsel



Parties of Record:                                         Counsel of Record:

DII 2.1               NEIGHBORS FOR BEGICH                     Jeffrey M. Feldman
                                                               Feldman Orlansky & Sanders
                                                               500 L Street, Suite 400
                                                               Anchorage, AK 99501
                                                               907-272-3538

PII 1.1               WUERCH, GEORGE                           Stephen A. McAlpine
                                                               4141 B Street, Suite 202
                                                               Anchorage, AK 99503
                                                               907-277-5542




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                        UNITED STATES DISTRICT COURT FOR THE DISTRICT OF ALASKA
                           CIVIL DOCKET ENTRIES FOR CASE A03-0079--CV (JKS)
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              Demand:
          Filing fee: Paid $150.00 on 04/10/03 receipt # 00120143
            Trial by:



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    1 -    1    04/10/03   Complaint filed; Summons issued.

    2 -    1    04/10/03   DEF 1-2 Attorney Appearance of Thomas F. Klinkner (BIRCH).

    3 -    1    04/10/03   DEF 1-2 Attorney Appearance W. Greene (MUNI).

    4 -    1    04/10/03   DEF 1-2 Notice of legal representation w/att exh.

    5 -    1    04/10/03   PLF 1 Return of Service Executed re: DEF 1 on 4/10/03.

    6 -    1    04/10/03   PLF 1 Return of Service Executed re:DEF 2 on 4/10/03.

    7 -    1    04/11/03   DII 1 motion to intervene w/att memo & proposed mot for sj.

    8 -    1    04/14/03   DEF 1-2 motion for leave to withdraw as counsel w/att memo.

    9 -    1    04/14/03   PLF 1 non-oppo to DEF 1-2 mot for leave to w/d as cnsl (8-1).

   10 -    1    04/14/03   PLF 1 non-oppo to ZZZ 1 mot to intervene (7-1).

   11 -    1    04/14/03   DEF 1-2 Attorney Appearance of Louisiana Cutler for William Greene.

   12 -    1    04/14/03   DEF 1-2 non-oppo to DEF 1-2 (co-cnsls) mot for leave to w/d as cnsl
                           (8-1).

   13 -    1    04/14/03   PLF 1 Complaint (Amended) w/att exh.

   11 -    2    04/15/03   Order granting substitution of Louisiana Cutler for William Greene. cc:
                           cnsl, L. Cutler, T. Klinkner

   14 -    1    04/15/03   PLF 1-2 motion for injunctive relief w/att exhs.

   15 -    1    04/15/03   PLF 1-2 motion for shortened time re: motion for injunctive relief w/att
                           aff.

   16 -    1    04/15/03   DII 1 partial-oppo to PLF 1-2 mot for shortened time re: mot for
                           injunctive relief (15-1).


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   17 -   1     04/15/03   JKS Order granting motion to intervene (7-1). cc: cnsl

   18 -   1     04/15/03   JKS Order granting motion for leave to withdraw as counsel (8-1). cc:
                           cnsl

   19 -   1     04/15/03   JKS Minute Order denying a prel inj at this time and set matter for
                           briefing allowing all defs until 04/18/03 at 3:00 p.m. to file and
                           personally serve an oppo to the mot for inj; plfs may file and
                           personally serve a reply by 04/21/03 at 12:00 p.m.; parties to meet and
                           confer and inform the crt in a stat rpt to be fld by plfs by 04/21/03
                           after consultation w/all defs whether this would be an appropriate case
                           to bring trial on the merits forward and combine it w/a hearing on prel
                           inj. cc: cnsl

   20 -   1     04/15/03   DII 1 motion for summary judgment w/att memo.

   21 -   1     04/15/03   DII 2 Unopposed motion of neighbors for Begich to intervene w/att memo &
                           aff.

   22 -   1     04/15/03   DII 2 motion for shortened time re: unopposed motion of neighbors for
                           Begich to intervene w/att aff.

   22A-   1     04/15/03   DII 1 Answer to first amended complaint.

   23 -   1     04/16/03   JKS Order granting motion for shortened time re: unopposed motion of
                           neighbors for Begich to intervene (22-1); responses to mot to intervene
                           due 4/17/03. cc: cnsl

   24 -   1     04/16/03   DII 1 non-oppo to ZZZ 1 unopposed mot of neighbors for Begich to
                           intervene (21-1).

   25 -   1     04/17/03   PII 1 Unopposed motion for Wuerch for Mayor to intervene w/att memo.

   26 -   1     04/17/03   PII 1 motion for expedited consideration w/att aff.

   27 -   1     04/18/03   JKS Order granting unopposed mot of neighbors for Begich to intervene
                           (21-1). cc: cnsl

   28 -   1     04/18/03   JKS Order granting unopposed mot for Wuerch for Mayor to intervene
                           (25-1). cc: cnsl

   29 -   1     04/18/03   JKS Order granting mot for exped consid (26-1). cc: cnsl

   30 -   1     04/18/03   DEF 1-2 oppo to PLF 1-2 mot for injunctive relief (14-1) w/att aff &
                           exhs.

   31 -   1     04/18/03   DII 2 oppo to PLF 1-2 mot for inj relief (14-1) w/att exhs.

   32 -   1     04/18/03   DII 2 Notice of filing original aff of H. Rauch re: mot to intervene by
                           Neighbors for Begich w/att aff.

   33 -   1     04/18/03   DII 1 oppo to PLF 1-2 mot for inj relief (14-1) w/att exhs.

   34 -   1     04/21/03   DEF 1-2 motion (request) for three judge district court panel re: motion
                           for injunctive relief.



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   35 -   1     04/21/03   PLF 1-2 motion (request) for three-judge district court panel.

   36 -   1     04/21/03   PLF 1-2 reply to DEF 1-2 oppo to PLF 1-2 mot for inj relief (14-1) w/att
                           exhs.

   37 -   1     04/21/03   PLF 1-2 reply to DII 1 oppo to PLF 1-2 mot for inj relief (14-1).

   38 -   1     04/21/03   PLF 1-2 reply to DII 2 oppo to PLF 1-2 mot for inj relief (14-1).

   39 -   1     04/21/03   PII 1 reply to oppo to PLF 1-2 mot for inj relief (14-1).

   40 -   1     04/21/03   PLF 1-2 Status Report.

   41 -   1     04/21/03   JKS Minute Order setting o/a on mot for injunctive relief for 04/21/03
                           at 3:00 p.m. cc: cnsl

   42 -   1     04/22/03   JKS Order granting mot (request) for three judge district court panel
                           (34-1) (35-1); 9CCA Chief Judge Schroeder to appoint two addtl judge to
                           serve on the three judge panel as provided in 28 U.S.C. 2284. cc: cnsl,
                           Judge Schroeder, Judge Sedwick, C. Catterson

   43 -   1     04/23/03   JKS Court Minutes [ECR: Robin Carter] O/A on mot for inj relief held
                           04/21/03; crt to send order to Chief Judge Schroeder of the 9CCA w/cys
                           to the parties indicating this challenge does exist and request she
                           exercise her discretion under the statute to ut together a three judge
                           panel; crt to await notification from her on how to proceed.

   44 -   1     04/28/03   Transcript re: OA on motion for injunctive relief dkt 14 on 4/21/03.

   45 -   1     04/28/03   DEF 1-2 motion (request) for modification of notice issued by the court
                           on 04/22/03.

   46 -   1     04/29/03   Order appointing 9CCA Judge Richard Tallman to the three-judge panel to
                           sit with Judge von der Heydt and Judge Singleton. cc: cnsl

   45 -   2     04/30/03   JKS Order granting mot (request) for modif of notice issued by the court
                           on 04/22/03 (45-1). cc: cnsl, Judge Tallman, Judge von der Heydt

   47 -   1     04/30/03   DEF 1-2 Answer to Amended Complaint.

   48 -   1     05/01/03   JKS, RCT, JAV Order denying mot for injunctive relief (14-1). cc: cnsl,
                           Judge Tallman, Judge von der Heydt

   49 -   1     05/01/03   JKS Minute Order setting o/a on mot for part sj (20-1) to consider
                           appropriate remedies for violation of 42 U.S.C. 1973c for 06/09/03 at
                           2:00 p.m. cc: cnsl, Judge Tallman, Judge von der Heydt

   50 -   1     05/16/03   PLF 1-2 motion for partial dismissal without prejudice.

   51 -   1     05/19/03   DEF 1-2 Notice of Department of Justice action approving changes made to
                           Anchaorage Election Procedures in Proposition 2.

   52 -   1     05/20/03   JKS Minute Order that defs respond to the mot to dismiss by 05/27/03 at
                           12:00 p.m., otherwise mot will be treated as well taken. cc: cnsl

   53 -   1     05/23/03   DII 1 non-oppo to PLF 1-2 mot for part dismissal w/o prej (50-1).


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   54 -   1     05/27/03   PLF 1-2 Notice of filing request to reexamine with Department of
                           Justice.

   55 -   1     05/29/03   JKS Minute Order denying as moot, mot for sj (20-1); granting mot for
                           part dismissal with prej as to any further proceedings on these claims
                           in federal crt and w/out prej to further proceedings in state crt
                           (50-1). cc: cnsl, Judge von der Heydt, Judge Tallman

   56 -   1     06/06/03   PLF 1-2 Status Report and summary of relief requested w/att exhs.

   57 -   1     06/06/03   DII 1 Status Report w/att exhs.

   58 -   1     06/09/03   PLF 1-2 Notice of submission of supplement #2

   59 -   1     06/11/03   RCT, JKS, JAV Court Minutes [ECR: Robin Carter] O/A on mot for part sj
                           (dkt 20) and to consider appropriate remedies for violation of 42 U.S.C.
                           1973c held 06/09/03; matters under advisement; written ruling to issue.

   60 -   1     06/16/03   DEF 1-2 Notice to crt that the Dept of Justice has not notified the Muni
                           of any intention to reexamine the decision not to interpose an obj to
                           proposition 2.

   61 -   1     06/17/03   DEF 1-2 motion for leave to withdraw as counsel w/att proposed
                           substitution of counsel.

   62 -   1     06/19/03   JKS Order granting mot for leave to w/d as cnsl (61-1); Paul J. Jones
                           substituted as cnsl. cc: cnsl, P. Jones

   63 -   1     06/20/03   RCT Opinion; plf's first amended cmplt is dism w/prej; clk to enter judg
                           and order consistent with this opinion. cc:cnsl

   64 -   1     06/20/03   RCT Judgment that plf's first amended cmplt is dism w/prej. cc: cnsl,
                           O&J 11550

   65 -   1     07/07/03   PLF 1-2 motion for attorney fees and costs w/att exh.

   66 -   1     07/09/03   DII 1 oppo to PLF 1-2 mot for atty fees and costs (65-1) w/att exh.

 NOTE -   1     07/14/03   Notation: USDC record consisting of vols 1-3 rec'd from Judge Tallman.

   67 -   1     07/16/03   PLF 1-2 reply to opposition to PLF 1-2 motion for attorney fees and
                           costs (65-1)

   68 -   1     07/25/03   DEF 1 oppo to PLF 1-2 mot for atty fees and costs (65-1).

   69 -   1     08/04/03   PLF 1-2 reply to oppos to PLF 1-2 mot for atty fees and costs (65-1).

   70 -   1     08/25/03   JKS Order denying motion for attorney fees and costs (65-1); parties are
                           to bear their own fees and costs. cc: cnsl




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